                              Case 5:22-cv-04486-BLF Document 105 Filed 09/27/22 Page 1 of 4



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                 9        Attorneys for Plaintiff Phil Mickelson

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               11                                     UNITED STATES DISTRICT COURT

               12                                  NORTHERN DISTRICT OF CALIFORNIA

               13                                              SAN JOSE DIVISION

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               15
                          PHIL MICKELSON; TALOR GOOCH;                  Case No. 5:22-cv-04486-BLF
               16         HUDSON SWAFFORD; MATT JONES;
                          BRYSON DECHAMBEAU; IAN POULTER;
               17         PETER UIHLEIN, and LIV GOLF INC.,             VOLUNTARY DISMISSAL
               18                               Plaintiffs,             Judge:      Hon. Beth Freeman
                                        v.
               19                                                       Date Filed: September 27, 2022
                          PGA TOUR, INC.,
               20                                                       Trial Date: January 8, 2024
                                                Defendant.
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                               Case 5:22-cv-04486-BLF Document 105 Filed 09/27/22 Page 2 of 4



                 1                             VOLUNTARY DISMISSAL WITHOUT PREJUDICE

                 2               NOTICE IS HEREBY GIVEN that pursuant to Federal Rules of Civil Procedure 41(a),

                 3        Plaintiff, Phil Mickelson voluntarily dismisses without prejudice his claims against Defendant. This

                 4        notice of dismissal is being filed with the Court before service by Defendant of either an answer or

                 5        a motion for summary judgment.

                 6

                 7        Dated: September 27, 2022                    Respectfully submitted,

                 8

                 9                                                     /s/ William V. Roppolo
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                               Case 5:22-cv-04486-BLF Document 105 Filed 09/27/22 Page 3 of 4



                 1                          ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1

                 2               Pursuant to Civil Local Rule 5-1(h)(3) of the Northern District of California, I attest that

                 3        concurrence in the filing of the document has been obtained from each of the other signatories to this

                 4        document.

                 5        Dated: September 27, 2022

                 6

                 7                                                      /s/ William V. Roppolo
                                                                        WILLIAM V. ROPPOLO
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                               Case 5:22-cv-04486-BLF Document 105 Filed 09/27/22 Page 4 of 4



                 1                                     CERTIFICATE OF SERVICE

                 2               I hereby certify that I served the forgoing NOTICE OF VOLUNTARY DISMISSAL

                 3        WITHOUT PREJUDICE through the Court’s CM/ECF system upon all counsel registered with

                 4        that system.

                 5        Dated: September 27, 2022

                 6

                 7                                               /s/ William V. Roppolo
                                                                 WILLIAM V. ROPPOLO
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